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                                                           August 6, 2024

                                                                                                                           VIA ECF


    The Honorable Judge Margo K. Brodie
    United States District Court
      for the Eastern District of New York
    225 Cadman Plaza East
    Courtroom 6F
    Brooklyn, NY 11201

               Re:      In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                        No. 1:05-MD-1720 (MKB)(JAM)

    Dear Judge Brodie:

            Rule 23(b)(3) Class Counsel (“Class Counsel”) write: (i) to request an extension of the claims-
    filing deadline; (ii) to report to the Court an issue involving data from Square Inc. (“Square”) that is
    important to the ability of the Class Administrator to get certain merchants claim forms; and (iii) to
    report to the Court Class Counsel’s and Epiq’s (“Epiq” or “Class Administrator”) proposal to
    establish a minimum payment option for approved claimants.

           Class Counsel does not make this request lightly and does not expect that another request for
    an extension will be necessary.

               A.       The Request for an Extension is Necessary

            Epiq has provided a declaration from Senior Vice President Loree Kovach explaining the
    factors related to the request for an extension. See Exhibit 1 (Declaration of Loree Kovach, dated
    August 6, 2024) (“Kovach Declaration”).1 For the 2019 Notice Mailing, the Class Administrator, in
    conjunction with Class Counsel, employed data compiled from data sources produced for the 2013
    Settlement along with supplemental data sets produced by various parties through 2019. See ECF
    7469-7 (Declaration of Nicole Hamann, dated June 6, 2019), ¶¶8-17. The developed methodology
    resulted in, for the vast majority of cases, a single mailing of the long-form notice to each unique
    Taxpayer Identification Number (“TIN”) in the data set at an address identified based on a number


    1
         A prior request for an extension was made on May 14, 2024 and granted on the same day. ECF 9294. See also ECF
    9294-1 (Declaration of Loree Kovach, dated May 14, 2024). The reasons for that request are different from the reasons
    for this current request, although additional time will likely also help to manage those concerns which included many
    thousands of unresolved conflicting claims between third-party filers, class members, and claim buyers as well as
    thousands of requests from class members regarding data, including requests to re-query the database and to provide
    additional data to determine interchange fees paid which has been greater than anticipated.


    4893-8986-5173.v1

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    of criteria. Id., ¶18.a.-g. Merchants which were not excluded parties and for which the data was
    usable were included in the mailing, with the exception of a subset of records. All merchants who
    received the long-form notice via mail were informed they would automatically be sent a claim form
    if and when the settlement was approved by the Court.

            Since 2019 Epiq has received additional data, including updated data from Visa Acquirer
    Merchant Master File (“Visa AMMF 5”) which contains additional merchant TINs.2 In all, Epiq
    possesses four large sets of data, including the disputed Square data (as discussed below), that could
    and should be used to check if a claim form has been mailed and/or mail additional claim forms. If
    the Square issue is resolved in favor of allowance to use the data, then data from Intuit Inc. and Intuit
    Payment Solutions, LLC (“Intuit”), Visa AMMF 5, Square, and one additional smaller subset of data
    will be used after Epiq works to combine and de-duplicate the data sets. Epiq will also analyze
    address data from multiple sources to identify the best address for mailing purposes as well as create
    mailing files. Exhibit 1, ¶¶8-10. The proposed data work is detailed in the Kovach Declaration. Id.
    Following the creation of mailing files, printing would commence on a rolling basis. Id., ¶10. As
    printing is completed, the Claim Forms will be dropped into the mailstream. Epiq expects to complete
    the mailings over the next two months, and requests the claim deadline be extended 180 days from
    now. Id., ¶¶4, 10.

            There is an enormous volume of data in this case and the understanding of that data and the
    use to which it can be put has evolved as the claims process has progressed. Class Counsel and Epiq
    want to ensure that as many class members as possible are able to obtain settlement benefits and
    mailing claim forms to additional potential claimants which can be recovered from these additional
    data sets will advance that goal. If granted, this additional time for the claims process will benefit all
    class members.

               B.       Square’s Refusal to Allow Use of Important Data for Claims
                        Administration Purposes

            Class Counsel has reached an impasse with Square regarding a request to use for claims
    purposes only, data previously provided by Square to effectuate its opt out in 2019. Class Counsel
    requests the Court order Square to allow the data provided in 2019 be used to check if a claim form
    has already been sent directly, and if not, send claim forms to certain submerchants who may be




    2
       From investigation, it appears clear that while these new data sources may contain a large number of new TINs that
    may reflect potential class member, the corresponding amount of relevant commerce is quite small.


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    unique in Square’s data. Without this data, some set of merchants who only used Square as a payment
    facilitator during the relevant time, may not be mailed claim forms,3 despite the data being extant.

           As part of its original request to opt out of the settlement, Square provided Epiq a significant
    volume of data to effectuate that opt out. In providing that data, Epiq and Square executed a mutual
    non-disclosure agreement (“MNDA”). Following receipt of Square’s data, Epiq and Square
    discussed the planned destruction of this data. After several discussions, the matter was left
    unresolved, and Epiq still possess the data.

           On July 2, 2024, Class Counsel wrote to Square’s counsel and requested, because of the
    MNDA, permission to use the opt-out data for claims administration purposes.4 Having received no
    response, Class Counsel followed up on July 10, 2024. On July 11, 2024, Class Counsel again
    requested permission to use the data.

           On July 17, 2024, Square’s counsel responded that he could not respond without further
    discussions with Square. Class Counsel followed up on the original request that same day. On July
    18, 2024, Square’s counsel raised several issues that are not relevant to providing claim forms to the
    Square submerchants but instead relate to Defendants’ Motion to Enforce. Class Counsel responded
    on July 22, 2024 explaining that the request was made for claims administration purposes and
    Square’s counsel’s questions and statements made in response to that request appeared to try to draw
    Class Counsel into a dispute between defendants and Square. Class Counsel further noted that
    Square’s references to views of Class Counsel reported in defendants’ motion to enforce were neither
    inaccurate nor contradictory to the request regarding the data. Class Counsel further addressed what
    appeared to be notice-related questions, by pointing out that the Court long ago held that the notice
    provided to the Rule 23(b)(3) Settlement Class was the best notice practicable under the
    circumstances. In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., 2019
    WL 6875472, at *34 (E.D.N.Y. Dec. 16, 2019) (“For the reasons set forth in the Preliminary Approval
    Order, the Court finds that the notices that were sent to putative class members were the best


    3
       Claim forms are available in multiple languages to anyone on the Court-approved website. https://www.
    paymentcardsettlement.com/en/Document/ClaimForms.
    4
         It should be noted that Intuit, an entity that also provided a significant volume of data related to its opt-out request
    and also entered into a non-disclosure agreement with Epiq, acceded to Class Counsel’s request to use their data for
    claims-administration purposes. A review of the data possessed and the mailings made directly to submerchants shows
    2.3 million out of 2.6 million submerchants did indeed receive a mailed claim form directly. Intuit was also one of several
    entities that were subpoenaed in 2019 to obtain merchant data. There have been several communications with Intuit
    regarding matters related to notice to Intuit’s submerchants. The parties appear to be at odds over some issues, which
    Intuit may raise with the Court, but Intuit did agree to the request regarding use of the data.


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    practicable notices under the circumstances.”), aff’d sub nom. Fikes Wholesale, Inc. v. HSBC, 62
    F.4th 704 (2d Cir. 2023). This included both mailed notice and a massive publication notice program.
    Finally, Class Counsel sought a firm response by July 25, 2024 so that it could raise the issue with
    the Court.

            On July 25, 2024, Square responded stating that Class Counsel refused to explain the need for
    data. The need for the data is to ensure that merchants receive a mailed claim form and to crosscheck
    that data with data provided by Visa and others. While the volume of the submerchant PayFac
    interchange fees may be small, perhaps less than 3% of the overall interchange volume, the number
    of small merchants is large. On July 25, 2024, Class Counsel explained the request and notified
    Square’s counsel that Class Counsel would raise the data permission request with the Court.

               C.       Minimum Payment Proposal

           Class Counsel and Epiq propose a minimum payment option be offered to class members,
    following a determination that, particularly as to certain submerchants, the technological challenges
    that exist in determining interchange fees paid would result in a significant expenditure of the
    settlement funds for likely modest claims without a corresponding benefit. Specifically, attempts to
    match the interchange fees paid by certain merchants will take so much time to determine that the
    administrative costs will greatly exceed the small claim amount they might otherwise receive.

            Based upon Epiq’s current understanding of the data in its possession, transactions of a
    particular payment facilitator are often associated to aggregate merchant identifiers such that these
    Visa monthly roll-up reports do not include a distinct merchant identifier for each distinct underlying
    payment facilitator submerchant. Without a distinct merchant identifier Epiq does not have a way to
    link the submerchant to the interchange fee data without substantial and costly work, that may not
    even result in a “match.” This type of analysis therefore would be extraordinarily burdensome.

            The proposal would allow for a minimum payment of $25 for all eligible class members who
    file an otherwise valid Claim and for whom Epiq is unable to identify interchange fee data in its data
    set, regardless of whether the class member is a submerchant or not. Should this minimum payment
    provision be implemented, Epiq would update the settlement website and would engage in a media
    campaign using internet banner ads and social media to inform class members of this minimum
    payment option. In addition, should the extension of the claim filing deadline be granted, Class
    Counsel and Epiq intend to send a reminder postcard to all class members who have not yet filed a
    claim. The minimum payment can be addressed on the reminder postcard.

            Review of the Appendix I – Plan of Administration and Distribution (ECF 7257-2) (“Plan”)
    authorizes Epiq to make “a reasonable estimate of . . . claim value” and expressly describes principles
    in carrying out the Plan as including reaching results that are “fair and equitable” and “ensures that

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    the administration is as simple and cost-effective and imposes as minimal a burden on Claimants as
    possible.” Id. at I-2, I-8. Class Counsel believes the minimum payment proposal is within the Class
    Administrator’s designated duties. Class Counsel present this proposal to the Court in the event the
    Court considers the proposal a modification of the Plan. If so, the media campaign and postcard
    reminder notice plan mentioned above would satisfy any notice concerns.

                                          Respectfully submitted,

       /s/ Ryan W. Marth              /s/ Michael J. Kane                /s/ Alexandra S. Bernay
       K. Craig Wildfang              H. Laddie Montague, Jr.            Patrick J. Coughlin
       Thomas J. Undlin               Merrill G. Davidoff                Alexandra S. Bernay
       Ryan W. Marth                  Michael J. Kane                    Robbins Geller Rudman
       Robins Kaplan LLP              Berger Montague PC                    & Dowd LLP

    Exhibit 1

    cc:        All Counsel via ECF




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